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                    IN THE UNITED STATES DISTRICT COURT FOR
                           THE SOUTHERN DISTRICT OF GEORGIA
                                  SAVANNAH DIVISION


UNITED STATES OF AMERICA,


V.                                               Case No.     CR417-208-01


EUGENE ALLEN,
                           Defendant.




        Bruce S. Harvey counsel of record for defendant Eugene Allen

in the above-styled case has moved for leave of absence.           The Court

is mindful that personal and professional obligations require the

absence        of    counsel on occasion. The Court, however, cannot


accommodate its schedule to the thousands of attorneys who practice

within the Southern District of Georgia.

        Counsel may be absent at the times requested. However, nothing

shall prevent the case from going forward; all discovery shall

proceed, status conferences, pretrial conferences, and           trial shall

not be interrupted or delayed. It is the affirmative obligation of

counsel to provide a fitting substitute.



        so ORDERED this            T^day of August 2018




     U.S. DISTRICT COURT                WILLIAM T. MOOR^ JR., JUDGE
     Southern District of Ga            UNITED STATES DISTRICT COURT
         Fiiad in Office                SOUTHERN DISTRICT OF GEORGIA
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